                           UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF NORTH CAROLINA
                                 DURHAM DIVISION
                                 File No. 1:22-CV-478


 HAYDEN SCOTT ROSE,

                                        Plaintiff
                                                           JOINT RULE 26(f) REPORT
                        v.

 PRESQUE ISLE VILLAS
 CONDOMINIUM HOMEOWNERS
 ASSOCIATION, Inc., PRESQUE ISLE
 VILLAS CONDOMINIUM
 HOMEOWNERS ASSOCIATION, Inc.,
 BOARD OF DIRECTORS, COMMUNITY
 ASSOCIATION MANAGEMENT, Ltd.,
 and BAGWELL HOLT SMITH, P. A.,

                                    Defendants




                                  JOINT RULE 26(f) REPORT

1.          Pursuant to Fed.R.Civ.P. 26(f) and L.R.16.1(b), a meeting was held on September 15,
2022, via telephone and a subsequent meeting was held on October 27, 2022, via Zoom, and each
meeting was attended by M. Shane Perry, Esq. for Plaintiff; Russell M. Racine, Esq. for Defendant
Bagwell Holt Smith, P.A. and Bridget L. Baranyai, Esq. for Defendants Presque Isle Villas
Condominium Homeowners Association, Inc.; Presque Isle Villas Condominium Homeowners
Association, Inc., Board of Directors and Community Association Management, Limited.

2.         Discovery Plan: The parties propose to the Court the following discovery plan: The
commencement date of discovery will be upon the entry of the Court’s Order pertaining to the
pending dispositive motion in whole or in part. Specifically, the parties have agreed to postpone
the taking of depositions and the exchange of written discovery responses until the pending
dispositive motion is resolved.

3.         Discovery will be needed on all matters alleged in the complaint, counterclaims
asserted by the parties, all affirmative defenses and Plaintiff’s alleged damages.

4.         Pursuant to L.R. 26.1, the Parties agree that the appropriate plan for this case is that it
should be designated as Complex.

5.         The date for the completion of all discovery (general and expert) is February 20, 2023.

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6.          At this time, the Parties have no stipulated modifications to the case management track
but agree to meet and confer regarding proposed modifications.

7.         Reports required by Rule 26(a)(2)(B) and disclosures required by Rule 26(a)(2)(C) are
due during the discovery period:

         From Plaintiff(s) by: December 19, 2022.

         From Defendant(s) by: January 16, 2023.
         Supplementations will be as provided in Rule 26(e) or as otherwise ordered by the court.

8.     Mediation should be conducted midway in the discovery period, the exact date to be set by
the mediator after consultation with the parties. The parties agree that the mediator shall be Wayne
Huckel, subject to availability.

9.      Preliminary Deposition Schedule. Preliminarily, the parties agree to the following schedule
for depositions: Commencing two weeks after the date of disposition of the pending dispositive
motion and continuing such that all depositions shall be completed by February 20, 2023. The
parties agree to cooperate regarding the scheduling of depositions.

10.     Other Items:
     Plaintiffs should be allowed until two weeks after the date of disposition of the pending
        dispositive motion to request leave to join additional parties or amend pleadings.
     Defendant should be allowed until four weeks after the date of disposition of the pending
        dispositive motion to request leave to join additional parties or amend pleadings.
After these dates, the Court will consider, inter alia, whether the granting of leave would delay
trial.

11.    The parties have discussed special procedures for managing this case, including reference
of the case to a Magistrate Judge on consent of the parties under 28 U.S.C. §§636(c), or
appointment of a master. The Parties do not consent to a Magistrate Judge’s authority in this matter.

12.   Trial of the action is expected to take approximately three (3) days. A jury trial has been
demanded.

13.     The parties discussed whether the case will involve the possibility of confidential or sealed
documents. The Parties agree that this case may involve confidential or sealed documents and the
parties have separately filed a L.R. 5.5 Report.

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Date: October 28, 2022




Respectfully Submitted by,




By: /s/ M. Shane Perry                By: /s/ Bridget L. Baranyai
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                                      and Community Association Management, Ltd.,


By: /s/ Russell M. Racine
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